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                                     ID #440



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JASON ANDREW STEIN,
PETER BRIAN FLORES,
STEVE NIDES,
RECARDO BONNER,
BRANDON SCOTT KEENA,
CURTIS LEE EVERITT,
SERGIO A. VALLES, JR.,
TREVOR J. BERTELSMAN,
GEOFFREY J. BURGE,
VERNON J. LOWERY,                                         No.07-cr-30136-DRH

Defendant.

                                      ORDER

HERNDON, Chief Judge:

      Before the Court is Defendant Jason Andrew Stein’s motion to continue trial

(Doc. 199). Defendant Stein argues that his counsel needs more time to adequately

prepare for trial given the number of defendants in this matter and the voluminous

discovery that has been received. The Court finds that the trial should be postponed

because Defendant’s counsel needs more time to prepare for trial. To force a

defendant to trial without adequate preparation would constitute a miscarriage of

justice. In addition, the Court finds that pursuant to 18 U.S.C. § 3161(h)(8)(A), the

ends of justice served by the granting of such a continuance outweigh the interests

of the public and Defendant Stein in a speedy trial. Therefore, the Court GRANTS
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Defendant Stein’s motion to continue trial (Doc. 199) and CONTINUES the jury trial

as to all Defendants scheduled for February 2, 2009 until March 30, 2009 at

9:00 a.m. The time from the date Defendant Stein’s motion was filed, January 8,

2009, until the date on which the trial is rescheduled, March 30, 2009, is excludable

time for the purposes of a speedy trial.

      Should either party believe that a witness will be required to travel on the

Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.



             IT IS SO ORDERED.

             Signed this 9th day of January, 2009.

                                             /s/      DavidRHer|do|
                                             Chief Judge
                                             United States District Court




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